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15

16                           UNITED STATES DISTRICT COURT
17                         NORTHERN DISTRICT OF CALIFORNIA
18                                  SAN JOSE DIVISION
19
                                                    Case No. 5:18-cv-06416-EJD
20    IN RE: GOOGLE LOCATION HISTORY
      LITIGATION                                    JOINT STIPULATION AND
21                                                  [PROPOSED] ORDER RE PLAINTIFFS’
                                                    MOTION FOR LEAVE TO ADD
22                                                  PLAINTIFFS AND CAUSE OF ACTION
                                                    TO AMENDED CONSOLIDATED
23                                                  CLASS ACTION COMPLAINT

24                                                  Judge:        Hon. Edward J. Davila

25                                                  Date Filed: October 19, 2018

26                                                  Trial Date: None set

27

28
          JOINT STIPULATION AND [PROPOSED] ORDER RE PLAINTIFFS’ MOTION FOR LEAVE
          TO ADD PLAINTIFFS AND CAUSE OF ACTION TO AMENDED CONSOLIDATED CLASS
                                    ACTION COMPLAINT
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 1             Pursuant to Civil Local Rules 6-2 and 7-12, Plaintiffs and Defendant Google LLC (the

 2   “Parties”) hereby jointly stipulate and agree as follows:

 3             WHEREAS on December 19, 2019, the Court entered its Order Granting Defendant’s

 4   Motion to Dismiss (Dkt. No. 113, hereinafter, “Dismissal Order”);

 5             WHEREAS the Dismissal Order stated that “Plaintiffs may not add new causes of action

 6   or parties without a stipulation or order of the Court under Rule 15 of the Federal Rules of Civil

 7   Procedure” (Dkt. No. 113 at 19);

 8             WHEREAS on January 14, 2020, the Court granted a joint stipulation to extend the

 9   “deadline for Plaintiffs to file a further amended complaint . . . until 30 days after the conclusion

10   of proceedings on Plaintiffs’ request for immediate, interlocutory review under 28 U.S.C.

11   § 1292(b) and/or Plaintiffs’ request to the Court of Appeal for mandamus review” (Dkt. No. 118);

12             WHEREAS on April 15, 2020, the Court denied Plaintiffs’ request for interlocutory

13   review under 28 U.S.C. § 1292(b) (Dkt. No. 126);

14             WHEREAS on April 24, 2020, the Court granted a joint stipulation to extend (a) “the

15   deadline for Plaintiffs to file a further amended complaint . . . until 30 days after the Court’s

16   ruling on Plaintiffs’ request for leave to file a motion for reconsideration,” and (b) “the deadline

17   for Defendant to move to dismiss or otherwise respond to the amended complaint . . . until 45

18   days after the filing of the amended complaint” (Dkt. No. 128);

19             WHEREAS on June 3, 2020, the Court denied Plaintiffs’ motion for leave to file a motion

20   for reconsideration (Dkt. No. 130);

21             WHEREAS on July 6, 2020, Plaintiffs filed a Motion for Leave to Add Plaintiffs and

22   Cause of Action to Amended Consolidated Class Action Complaint (Dkt. No. 133, hereinafter,

23   “Motion for Leave”);

24             WHEREAS on July 6, 2020, Plaintiffs concurrently filed their Amended Consolidated

25   Class Action Complaint (Dkt. No. 131, hereinafter, “Amended Complaint”);

26             WHEREAS Plaintiffs acknowledge in their Amended Complaint that “[t]he addition of

27   Plaintiffs Michael Childs and Noe Gamboa, and Count 3, to this Amended Consolidated Class

28                                                       1
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 1   Action Complaint are contingent upon the Court’s ruling on Plaintiffs’ Motion for Leave, filed

 2   herewith” (Amended Complaint n.1; see also id. at nn. 5, 128);

 3             WHEREAS Google disagrees that Plaintiffs’ proposed amendments are justified, but

 4   intends in the interest of efficiency to raise its arguments in a motion to dismiss instead of in an

 5   opposition to Plaintiffs’ Motion for Leave;

 6             NOW, THEREFORE, IT IS HEREBY STIPULATED, by and between the Parties,

 7   through their respective counsel, and subject to the Court’s approval, that (a) Plaintiffs have leave

 8   to add the new plaintiffs and the additional cause of action in Plaintiffs’ proposed Amended

 9   Complaint (Dkt. No. 131), thereby mooting Plaintiffs’ pending Motion for Leave (Dkt. No. 133);

10   (b), Plaintiffs’ Amended Complaint (Dkt. No. 131) shall be deemed filed as of the day the Court

11   grants and enters this stipulation; and (c) consistent with the parties’ prior stipulation dated April

12   24, 2020 (Dkt. No. 128), the deadline for Google to move to dismiss or otherwise respond to the

13   Amended Complaint shall be 45 days after the Court grants and enters this stipulation.

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15

16    Dated: July 16, 2020                                    KEKER, VAN NEST & PETERS LLP
17

18                                                     By:    /s/ Thomas Gorman
                                                              BENJAMIN BERKOWITZ
19                                                            THOMAS E. GORMAN
                                                              CHRISTOPHER SUN
20                                                            CHRISTINA LEE

21                                                            Attorneys for Defendant GOOGLE LLC

22

23    Dated: July 16, 2020                                    AHDOOT & WOLFSON, PC

24
                                                       By:    /s/ Theodore Maya
25
                                                              TINA WOLFSON
26                                                            THEODORE MAYA
                                                              BRAD KING
27
                                                              Interim Co-Lead Class Counsel
28                                                       2
          JOINT STIPULATION AND [PROPOSED] ORDER RE PLAINTIFFS’ MOTION FOR LEAVE
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 1                                    [PROPOSED] ORDER

 2             PURSUANT TO STIPULATION AND GOOD CAUSE APPEARING, IT IS SO

 3   ORDERED.

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 5   Dated: _______________________
 6                                                    Honorable Edward J. Davila

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 1                                              ATTESTATION

 2             Pursuant to Civil Local Rule 5.1 regarding signatures, I attest that concurrence in the

 3   filing of this document has been obtained from the other signatories.

 4
     Dated: July 16, 2020                                            /s/ Thomas Gorman_________
 5                                                                   THOMAS GORMAN
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